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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
CAUSE OF ACTION INSTITUTE                  )
                                           )
                  Plaintiff,               )
                                           )
            v.                             ) Civil Action No. 19-1915 (JEB)
                                          )
EXPORT-IMPORT BANK                        )
OF THE UNITED STATES                      )
                                          )
                  Defendant.              )
__________________________________________)

                JOINT STATUS REPORT AND PROPOSED SCHEDULE

       Plaintiff Cause of Action Institute (“CoA Institute”) and Defendant Export-Import Bank of

the United States (“Ex-Im Bank”), by and through their undersigned counsel, provide the following

joint status report and proposed schedule pursuant to the Court’s October 22, 2019 Minute Order.

1.     This lawsuit involves two Freedom of Information Act (“FOIA”) requests made by CoA

       Institute to the Ex-Im Bank: FOIA Request # 201800076F, dated September 20, 2018, and

       FOIA Request # 201900047F, dated May 24, 2019.

2.     CoA Institute filed its Complaint on June 26, 2019. ECF No. 1. Ex-Im Bank filed its

       Answer on August 8, 2019. ECF No. 13.

3.     On August 28, 2019, Ex-Im Bank issued its full and final response, including the

       production of non-exempt portions of responsive records, to FOIA Request # 201800076F.

4.     On September 30, 2019, Ex-Im Bank issued its first response, including the production of

       non-exempt portions of response records, to FOIA Request # 201900047F.

5.     As part of its processing of records responsive to FOIA Request # 201900047F, Ex-Im

       Bank forwarded records to the U.S. Government Accountability Office (“GAO”) for
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       consultation regarding GAO equities within these records. The records sent to GAO are

       the only remaining records to be processed in response to FOIA Request # 201900047F.

6.     Defendant’s counsel has attempted to obtain an update from GAO regarding the

       processing of the records sent to it by Defendant; however, GAO has not yet responded to

       counsel’s inquiries.

7.     Accordingly, the parties propose that the Court defer setting a briefing schedule at this time

       and instead direct the parties to submit another joint status report by December 18, 2019.

Date: November 18, 2019                           Respectfully submitted,


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